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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )       CASE NO. 1:21-mj-00089
                                             )       MAGISTRATE JUDGE ZIA M. FARUQUI
BLAKE A. REED                                )

      MOTION FOR PRO HAC VICE ADMISSION OF PAUL JOSPEH BRUNO AND
     PERMISSION TO APPEAR IN OPEN COURT ON BEHALF OF BLAKE A. REED

       Comes now Attorney Jenifer Wicks and Attorney Paul Joseph Bruno and hereby move this

Honorable Court for pro hac vice admission of Attorney Paul Joseph Bruno and for permission for

Attorney Paul Joseph Bruno to appear in open court on behalf of Blake A. Reed. In support of this

motion, counsel states the following:

       1. Attorney Paul Joseph Bruno has discussed the instant motion with Assistant United

           States Attorney Jamie L. Carter, and she has authorized counsel to represent that the

           government has no opposition to this motion.

       2. Pursuant to District of Columbia Local Criminal Rule 44.1(d), counsel has attached the

           Declaration of Paul Joseph Bruno. Attorney Paul Joseph Bruno will comply with the

           Federal Rules of Criminal Procedure and this Court’s Local Rules.

       3. As stated in the Declaration and to Attorney Jenifer Wicks’ knowledge, Attorney Paul

           Joseph Bruno is an attorney licensed and in good standing in the State of Tennessee,

           and he has been admitted to practice before and is in good standing with the U.S.

           District Court for the Middle District of Tennessee.

       4. Sponsoring Attorney Jenifer Wicks, a member of the Bar of this Court, moves this

           Honorable Court to allow Attorney Paul Joseph Bruno to appear pro hac vice and for

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           permission for Attorney Paul Joseph Bruno to appear in open court on behalf of Blake

           A. Reed in this case.

       WHEREFORE, Attorney Paul Joseph Bruno and Sponsoring Attorney Jenifer Wicks

request that the Court enter an Order granting Attorney Paul Joseph Bruno’s admission on a pro

hac vice basis and for permission for Attorney Paul Joseph Bruno to appear in open court on behalf

of Blake A. Reed in this case.


                                                    Respectfully submitted,

                                                    /s/ Jenifer Wicks

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                                                    Jenifer Wicks, D.C. Bar ID: 465476
                                                    P.O. Box 60585
                                                    Washington, DC 20039
                                                    Telephone: 202-839-5102




                                   CERTIFICATE OF SERVICE

                I hereby certify that a copy of the foregoing motion has been served by ECF on all
parties. I hereby certify that a true and exact copy of the foregoing Motion For Pro Hac Vice
AdmissionOf Paul Jospeh Bruno And Permission To Appear In Open Court On Behalf Of Blake
A. Reed has been emailed to Jamie L. Carter, Assistant U.S. Attorney, U.S. Attorney’s Office for
the District of Columbia, 555 4th Street NW, Room 3640, Washington, D.C. 20530, on this the
25th day of January, 2021.

                                                    /s/ Jenifer Wicks

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                                                    Jenifer Wicks, D.C. Bar ID: 465476



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